      Case 1:25-cv-10399-FDS          Document 14-1        Filed 02/24/25      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


___________________________________
                                    )
                                    )
KAREN READ,                         )
            Petitioner              )
                                    )
v.                                  )                               No. 25-CV-10399-FDS
                                    )
NORFOLK COUNTY SUPERIOR             )
COURT, MASSACHUSETTS                )
ATTORNEY GENERAL,                   )
            Respondents             )
                                    )
___________________________________ )


              AFFIRMATION IN SUPPORT OF PRO HAC VICE ADMISSION

            ALAN JACKSON, affirms the following under the pains and penalties of perjury:

       1.      I am an attorney duly admitted to practice law in the State of California. I submit

this Affirmation in support of a motion seeking my admission to the bar of this Court pro hac

vice for the purpose of representing Petitioner Karen Read.

       2.      I am a member of the bar in good standing in every jurisdiction in which I have

been admitted to practice.

       3.      There are no disciplinary proceedings pending against me as a member of the

bar in any jurisdiction.

       4.      I have not previously had a pro hac vice admission (or any other admission) to this

Court revoked for misconduct.

       5.      I have read and agree to comply with the Local Rules of United States District

Court for the District of Massachusetts.
    Case 1:25-cv-10399-FDS    Document 14-1   Filed 02/24/25   Page 2 of 2




DATED:    February 24, 2025             ____________________________
                                       ALAN JACKSON
